CaSe 1:07-cV-OO206-E.]L Document 1 Filed 05/03/07 Page 1 of 23

Robert A. Anderson, |SB # 2124
|\/|ark D. Sebastian, ISB #6012
ANDEF{SON, JUL|AN & HULL LLP
C. W. |\/|oore P|aza
250 South Fifth Street, Suite 700
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Boise, |daho 83707-7426
Te|ephone: (208)344-5800
Facsimile: (208) 344-5510
E-|\/|ai|: randerson@aih|aw.com
msebaetian@aihlaw.oom

Attorneys for Detendants

|N THE UN|TED STATES DtSTR|CT COURT

OF THE D|STR|CT OF |DAHO

PHYLL|S R. CHARTERS and
ROBERT L. CHARTERS, Husband and
Wite

Plaintift (s),
vs.

PRUDENT|AL PROPERTY AND
CASUALTY |NSURANCE CO|\/|PANY,
L|BERTY |V|UTUAL GROUP, |NC., and
L|BERTY MUTUAL PROPERTY AND
CASUALTY |NSURANCE COMPANY

Defendant (s).

 

 

TO; PLAINT|FFS AND THE|R ATTORNEYS OF RECORD, BEV|S, JOHNSON &

Docket No.

(Ada County Case No.
CV OC 0619740)

NOT|CE OF REIVIOVAL

Fi|ing Fee: $350.00

TH|RY, P.A., and THE CLERK OF THE ABOVE-ENT|TLED COURT:

PLEASE TAKE NOT|CE that pursuant to 28 U.S.C. §§ 1441 and 1446, the
Defendants hereby remove the above-entitled cause of action from the Distriot

Court of the Fourth Judicia| District of the State of Idaho, in and for the County of

NOT|CE OF REN|OVAL - 1

 

 

Case 1:07-cv-OO206-E.]L Document 1 Filed 05/03/07 Page 2 of 23

Ada, to the United States District Court for the District of ldaho, based on the
following grounds:

FlRST: That PRUDENT|AL PROPERTY AND CASUALTY
lNSURANCE COl\/lPANY, LlBEFlTY l\/lUTUAL GROUP, lNC., and LlBERTY
l\/lUTUAL PROPERTY AND CASUALTY lNSURANCE COl\/lPANY, are the
Defendants in Civil Case No. CV OC 0619740 brought against them in the
District Court of the Fourth Judicial Dlstrict of the State of ldaho, in and for the
County of Ada, entitled Phyllis R. Charters and Robert L. Charters, Husband
and Wife vs. Prudential Property and Casualty Insurance Company, Liberty
ll/lutual Group, Inc., and Liberty Il/lutual Property and Casualty Insurance
Company, Defendants. A copy of the Summons and Complaint in that action is
attached hereto, along With a copy of the state court docket, and constitutes all
process, pleadings and orders served upon Defendants in such action.

SECOND: That the aforesaid action Was commenced by service of
process consisting of a Summons and Complaint upon the Director of the ldaho
Department of Insurance per ldaho Code § 41-333.

TH|RD: That the Plaintiffs in the above-entitled action are citizens of
the State of ldaho; but that the Defendants in the above-entitled action are
foreign corporations With their states of incorporation and principle places of
business located outside of ldaho.

FOURTH: That the matter in controversy including possible punitive
damages and attorney’s fees exceeds $75,000; and that similar cases resulting

in judgment to Plaintiffs regularly exceed $75,000.

NOT|CE OF REIVIOVAL - 2

 

 

 

 

Case 1:07-cv-OO206-E.]L Document 1 Filed 05/03/07 Page 3 of 23

FlFTH: That this is a civil action brought in a State Court of
which the United States District Courts have original jurisdiction based upon
diversity of citizenship as provided under 28 U.S.C. § 1332.

WHEREFORE, Defendants pray that this cause proceed in the
United States District Court for the District of ldaho as an action properly
removed thereto.

DATED this 5€§day of l\/lay, 2007.

 

ANDERSON, JUL|AN & HULL l_LP

ill ark

`?7Ftobert A. `Anderson, Of the Firm
Attorneys for Defendants

 

CERTIF|CATE OF l\/lAlLlNG

l HEFlEBY CEFlTlFY that on this _‘§£:;day of l\/lay, 2007, l served a true
and correct copy of the foregoing NOT|CE OF REIVIOVAL by delivering the same
to each of the following attorneys of record, by the method indicated below,
addressed as follows:

l\/lichael R. Johnson

BEVlS, JOHNSON & THlRY, PA
960 Broadway, Suite 220

P.O. Box 827

Boise, idaho 83701-0827
Telephone: (208) 345-1040

U.S. l\/lall, postage prepaid
Hand-Delivered

Overnight l\/lall

Facsimile (208) 345-0365
Cl\/l/ECF

w get

l f§/Fiobert A. Anderson

r--wl%r_r--qr-_l

 

 

NOT|CE OF REMOVAL - 3

 

Case 1:07-cv-OO206-E.]L Document 1 Filed 05/03/07 Page 4 of 23

State of ldah'o

DEPARTMENT OF INSURANCE
C.'L. "BUTCH" OITER 700 Wesl'-Sfate Street, Cird F,loor VVILUAM W. DEAL
Govemor P.O. B¢JX"'S£I?¥Q Dil"act‘ef
Bd/'s_e, ldaho 813720~004'.3~ _
Phor)e.(£"@&} 334-4250 Fax (208) 334-4298=
.'Z ' .-'ai-`ida`. ~,~ v

      

To: PRUDENTIAL PROPERTY & CASUALTY INSURANCE COMPANY
%CT`CORPORATION SYSTEM
300 NORTI-'I 6'l`H ST
BOISE ID- '8-37{]1

CC: Plaintiff"s_counsel .(w/o Enclosures) via First Clas's M'ail

From: ld'aho Department of Insurance

Date: 4/3/2007

Re: NOTI_C__E OF SUMMONS AND COMPLA_INT AND DEMAND FOR JURY 4rl`R_L¢§L IN
THE DISTRICT OF THE FOUR'IH JUDICIAL DISTR.ICT OF THE STATE OF
IDAHO, IN AND FOR THE .CO.UNTY` OF ADA CASE NO_. CV` O,C 0619'74.0..

 

YOU .WILL PLEASE TAKE NOTICE that a due and regular service of a SUMMONS
AND COMPLAINT AND DEMAND FOR JURY TRIAL, in connection with the.above-entitled
acti=on, Was; made upon you by US MAIL on the THIRD day of A.PRIL, 2007, by delivering in
Boi-se', Id'ahe, on the said date -to`the Director of the Department oflnsurance', S|;atev of_ldaho, who
is the duly and regularly appointed Statntory Agent'. A copy of each instrumi:`:nt4 is enclosed
herewith to you as provided by law.

IN `WI'INESS WHEREOF, lhav'e hereunto set my hand and the official seal of this office
at Boi'se, ldaho`, this THIRDfd'ay of 'APRIL, 200-7~.

William W. Deal
DIRECTOR
Department of Insurance
State of ldaho

 

Cert NO.?ODS 1160 0000. 1506 3672

 

 

 

 

Case 1:07-cv-OO206-E.]L Document 1 Filed 05/03/07 Page 5 of 23

 

49 § ..-- ..

 
 

i~(»».i....,,,..__”_,,, _ _
MICHAEL R. J'oHNsoN . A,,,_,,_M F*~“;, 1
BEVIS.; goHNsoN &THIRY, P.A. M&GHAEL McLAuGHLlN ----P£W no {} ~*............4
Attorneys at L.aw *"“' 5` "5 ` 2686
960 Broadway, S,_uite 220 §§ W§’-wf ‘§F-;‘»z;o el
m '~ .--.' ` gm

t-E

P,Ol BO_x 827

Bois'e, Idaho .83701-0827
Telephone: (208) 345-1040
Faesimil_e: (208) 345-03;65
Idaho State'Bar No_. 4706

ATTORNEYS FOR PLAINTIFFS

IN THE DISTRICT`COURT OF'THB FOURTH JUDICLH_, DISTRICT O'F THE

STATE OF IDAHO, IN AND F_()R THE COUNI‘Y OF ADA

 

PHYLLIS R. CHARTERS and
RO.BERT L. CHARTERS, Husband and Wii`e » . . -» - 1 -_
cAsBNO. Cv 9 g 96 1? 740
Plaintiffs',
SUMMONS
V.
PRUDENTIAL PROPERTY AND

CASUALTY INSURANCE COWANY,
LIBERW M»UTUAL GROUP, INC,, and
LIBERTY MUTUAL PROPERTY AND
CASUALTY INSURANCE C-OMPANY

Defendants.

 

TO.: PRUDENTIAL-PROPERTY AND CASUALTY INSURANCE C.oMPANY
NoTIcE= YOU HAVE BEEN sunn BY THE ABovE NMI_) PLAINTlFF.'

THE coURT MAY ENTER JUDGMENT.AGAINST' You W'-ITHo.uT FUR'THER No'TICE

UNLES_S YoU RESPQND WITHIN THIRTY (30') DAYS. READ THE

INFORMAHON BELOW.

S;UMMONS - Page l_

 

 

Case 1:07-cv-OO206-E.]L Document 1 Filed 05/03/07 Page 6 of 23

You are hereby notified that in order to defend this lawsuit, an appropriate written reminisc-
must~b'e filed with the above designated court within twenty '(20) days after service of this `Summons
ron you. Ilf you fail to so respond, the Court may enter judgment against you as demanded by the
Pl`aintiff in the Complaint`.

A copy of"theComplai_nt is served with this Sumrnon_s'. If'you wish to seek the advice of or
representation byron attorney in this -m'atter,, you shoot d do so promptly so that your written response
if any, may be filed in time and other legal rights protected

An appropriate W'ritte_n response requires compliance with Rule l@(a)(_l) and other Idaho .
Rules of Civil Procedure and shall also inelude:

l., The title and number of this case

2. lf your response is an Answer to'th'e Compla'int it must contain admissions or denials
of the separate allegations of the Complaint and other defenses you may claim

3. Y'_our signature mailing address and telephone number,. ortho signaturej mailing
address and telephone number of your attorney

4. Pro'of of mailing or delivery of a copy of your response t_o Plainnffs _=attomey, as-
desig;riated above

To determine whether you must pay a filing fee with your respon'se, contact"the Clerk of the
above-named Court.

DATED this E day or october 2006

CLE~RK OP THE DISTRICT COURT
J~. DA\le NAW§.HRU =lLl.E£ t§i<
§an regs ,,

Deputy Cl'erk

 

 

  

:SUMMoNs § Pag¢-. 2_

 

 

 

Case 1:07-cV-00206-E.]L Document 1 Filed 05/03/07 Page 7 of 23

 

 

no
FB_§D

A\M»_ eis ,__N_
MICHAELR. JoHNsoN UCT 2 0 29th
BEVIS, JOHNSON & THIRY, P.A. ..1. 'Da¥to mendoza t,»»
Attomeys at `Law By- A§z:r:£ta-
960 Broadway, -Suite 220 - ~
P.O_`. Boxf 82?

`.Bo'ise_, Idaho 83701~082?
Telephone: (208_') 3__45- l 040
Facs-i.mile: (208) 345-0365
mario state ear No. writs

A'I'I`ORNEYS FOR PLA}NTIFFS

IN THE DISTRIC.T C-OURT OF THE FOURTH ]UDICIAL DISTRICT OF THE

`STATE-~OF IDAHO, IN AND_ FOR THE _COUNTY- O`F AD`A

PHYLLIS R. (;:HARTERS and
ROBERT L. CHARTERS, Hu~sbana and wife l . . ,
. CASENO. CV 93 fQ:é‘l 974@
Plaimiffs,
COMPLAINT AND DEMAND
v. Fo;R JUR`Y TRIAL
PRUDENTIAL PROPERT¥ AND

CASUALTY INSURANCE COMPANY.,
LIBERTY MUTUAL GROUP, iN'C., and
LIBERTY' MUTUAL PRQPERTY AND
CASUALTY DJ'S.URANCE COMPANY

Defcndants.

 

COMES NOW, the above-captioned’Plaint~iff`s, hyland through their attorney o_fr-ec'ord, Bevis,

Johnson &.'Thity, P.A.,, and complain and allege against the above captioned -Defendants a"s follow:

ooMPLArNrANn oF,MANn ron JURY mai. - large 1 © PY

 

 

Case 1:07-cV-OO206-E.]L Document 1 Filed 05/03/07 Page 8 of 23

PARTIE§, J'URI§DICTION AND VE§ §§
I.
Plain`tiffs, are now, and at all times relevant to`thi-'s action Were residents of the state of Ida'ho.
II.
At all times-relevant herein, Defendants were foreign corporations authorized L"O do business
in the-state of Ida_ho and had the authority to transact insinance:busin'ess in the state of Idaho.
111
The amount in controversy is greater than the sum of $10,0'00 and the claims and'caus'es of .
action set forth herein therefore exceed the jurisdictional limits and prerequisites of the District Court._
IV.
Based upon the=ab.ove allegations,.and the allegation further made herein, venue is proper in
this action pursuath to Idaho Code §» _5.~404;
V.
Service of process may be made upon Defendant-s pursuant to I'daho Code §§_4.1~333 and 4-1-
334,_by-service upon the Diz'ector of.t_h'e Department_ofIn-surance for the state ofldaho.

FACTUAL ALLEGATIONS co oN 'ro ALL counts

     

VI.
A't all-times relevant hereto Plaintiffs were insured under an automobile insurance policy
issued by the Defendant, Prudential Property and Ca-s'ualty Insurance Company {hereirlatter

“Prudential").

'COMPLAINT AND DEMAND FOR .TURY TRIAL - Page.Z

 

 

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The contractual obligations of Prndential insurance policy purchased by Plaintift`s were
subsequently assumed by Defen'dants, Liberty Mutual Group, lnc._, and Liberty Mutual` Property and
Casualty Insurance Com'pany (h'ereinatter_ collectively “Libexty Mutnal’-'")’..

Vlll.

The P-olicy of Insurance provided medical payments coverage for medical expenses caused

by an automobile accident
D{.

S'aid Poliey'oflusurance issued by the Defendant Piixdent-ial and subsequently-assumed by-
Liberty_ Mutu`al also provided underinsured motorist coverage for damages for bodily injury that the
Plairitiffs. Were legally entitled to collect from the owner or driver ofa_n underinsured motor vehicle

X_

On or about Octob.er 22, 2001,_ in Ada County, Idaho, the Plainst were involved in an
automobile collision with an underinsured motorist, -as-- defined by said policy of insurance The
collision resulted from the negligence ofth"e undermsured.motorist and Plaintift`s suffered injuries and
have incurred medical expenses as a proximate result of said motorist’s negligence Plaintiffs have
settled with the underinsured motorist, receiving the tull limits of said m.o_tori-st’s liability p_olicy,_ all
with the permission of the Defendants;

XI.

Plaintifi`s have provided Det`endants with proof of their losses under the medical payments
coverage and underinsured motorist coverage Defendants have‘failed~for aperiod ofthi_rty (3-0) days
after such proofs of loss were furnished to De`fendants t__o pay Blaint_iffs: thefainount justly due them
under the terms of said policy of in'snrane.e_.

CDMPLAINT AND -DEMAN_D FOR JURY TRIAL ~ Page 3

 

 

 

 

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XH.
Pursuan`t to Idah`o Code § 41-1839. Defendants are liable to the Piaintiffs_ for Plaintiffs”
anomey fees incurred in prosecuting this lawsuit
FIRST CAUSE OF ACT!ON
XI]I`.
Plaint»iffs rae-allege paragraphs f through Xl] as if restated herein~.
XIV.

P]aintiH-`-_s have submitted to the Defendants for payment under the Plaintiff`S’ medical payments »
coverage With the Defe'ndants, medical expenses incurred as a proximate result ofthe-mo'tor vehicle
col}i'sion.

XV.

Defendents have failed and reiix`sed to pay all such medical expenses submitted in breach of
its contract of insurance with the 'Pla_mtif`fs'. Defendants_are liable t_o the P-laintiffs for that breach of
contraet, in an amount equal to the remaining limits of'medieal payments coverage

XVI..
Plaintif‘f"s` are entitled to be awarded prejudgment interest, costs and attorney fees.
SECOND CAUSE OF.ACTION
XVII.
Plaintiffs re~a¢llege paragraphs I through XVI as= if restated herein.
XV 111

P!aintiffs have demanded payment Bom Def`en'dants fo'r` the damages for bodily injury suffered
by 'Plainti`ffs, to the extent Ple'intiffs_ have not yet been compensated therefore by virtue ofthe policy
limits settlement with the underinsured driver, owner and their insurer_

COMPLAINT-AND' DEMAND. FOR JURY. Tl_uAL - P»ag._¢ 4

 

 

Case 1:O7-cV-00206-E.]L Document 1 Filed 05/03/07 Page 11 of 23

XIX.

Def'endan`ts have failed and refined t"o pay the amount justly due Plaintiffs. under said
underinsured .motor_ist.coverage~ Defendants' have breached the contract of insurance and are liable
to Plaint'iffs‘ for said breach in =a-n amount in excess of $ l 0,000.

Plaintiffs are entitled to be awarded prejudgment .i_nterest, costs'and attorney fees.

THIRD CAUSE' OF ACTION
Plaintiffs re-allege paragraphs l through XX as ifrestated herein‘.
XXII.
Plaint=il;l"sl have performed all conditions the-policy required them to.-perft)nn.
XXHI-,

Defendants have breached the implied covenant nf:good'faith and fair dealing by failing to
justly pay Plaintiifs.’ claims and are li able to the Plaintiffs for'damag_es arising from said breach in an
amount in excess of .'-B l 0,00.0.

XXIV.
,Plaintiff`$ are entitled to be awarded-prejudgment interest, casts and attorney fees.
FOURTH C'AUSE OF ACTION

Plaintill`s. rci-allege paragraphs I through XXIV as if restated herein

COMPLAINT AND DEMAND FO_R JURY- TRIAL - P-ag¢= 5

 

 

 

Case 1:O7-cV-OO206-E.]L Document 1 Filed 05/03/07 Page 12 of 23

XXVI.

Defendant-s' have acted in bad faith in denying payment ofPlai'ntifi"s’ medical.expense_s and
underinsured losses, and are liable to the Plaintiil's for damages arising from said bad faith and
misconduct in an amount in excess of $lO,.D_OO.

XXVH_.
Pl_aintiffs are entitled te.be awarded prejudgment intere-st, costs and attorney fees
XXVIII.

W?h'erefore, Plaintiffs pray for Judg_ment against Defendants a_s follows:

l . Undcr`the Firs`t Cause ofAetion, far damages sustained by P'laintiffs as a result of the
Defendants’ breach ofits contract of insurance W-ith`the plaintiffs in an amount equal to the.re;mainir!g
limits.n'f medical payments coverage plus prejudgment interest, costs and attorney fees‘;

2. Under the Sec'ond Cause ofAction,:for damages sustained by Plaintiffs as a result of
the Defendants.’ failure and refusal to pay the'~ampunt justly due Plaintift`s under said underinsured
motorist coverages in an amount in excess of $10,000, plus prejudgment i-nterest-, costs and attorney
'fees;

3. Under’th'e Third C-aus_e ofActi'on, for damages sustained by Plaintifi`s'as a' result of the
Defendants’ breach ef the implied covenant of goed't`aith_ and fair deafin'g in_ an amount in excess of
$IU,OOO, plus prejudgment interests costs and attorney fees;

41 Un_der-the Fourth Cause ofAet-ion, for damages sustained by the Plaintiffs-~as a- result .
`o.fDei`endan`ts’ bad faith in denying payment ofPla.intitl"s" m'edi"'ca'l expenses and underinsured losses;=,
in an amount in excess of.$ 10,009t plus prejudgment interests,:cost-s and attorney fees;

5... .Fer P`lainti'f'fs’ atteme_y fees, costs and prejudgment interest;.

.6; F or such further relief as the Court deems just and preper.

COMPLAINT AND -DEM'AND FOR JUR_Y 'I`R_IAL - Page 61

 

 

 

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DEMAND FOR JURY TRIAL

P-nrsu`ant to Rule 38(¥)), Idaho Rz.des ofC¢`vil Pmcedure, P-laintiffs_ dem'and<a trial by jury on

 

any and all issues properly triable by jury in this -ag:tion.

4a
._ . 5 .
DATED This L day of cemer 2006.

BEVIS, JOHNSON "& TH]RY, P.A.

W\/l\ " z/

Mj'chael R. .Johnson
Attomeys for Plai`ntiffs

 

zc<-)_MPLAIN-T AND DEMAND FOR- JUR'Y mL - Pag;e_?

 

.‘J

Case 1:O7-cV-00206-E.]L Document 1 Filed 05/03/07 Page 14 of 23

§ w...`_`~~`
Anz_MM
-MICHABL R. JomrsoN APR 1 6 2007
BEVIS, JOHNSON &. THJRY, P.A. .}, .DAV_;E M;§;A.RRQ‘ mm
At;torneys at.Law BMB»§\;??R
960 Broadway, Suite 220 ~
P.O. BOX 827

Boi`se_, ldaho_ 33701-0`327
Telephone: (208) 345-1040
Facsirriile: (208) 345-036$
Ida‘ho State Bar No. 4706

ATTORNEYS FOR PLAIN'I`]FFS

IN THE DISTRICT CO.URT OF'THE FOURTH JUDICIAL DI-STRIC'I` OFTHE
ST'ATE OF IDAH`O, IN AND FOR THE COUNTY' O_F ADA
PHYLLIS R. CHARTBRS.aud

ROBERT L_. C_H.ARTERS, nusband and wife
cAsE No. ev Oc 0619740

 

Plain!.iffs,
.SUMMON`S ON AMENDED
v. COMPLAINT
PRUD.ENTIAL PROPERTY AND
CASUALTY INSURANCE COMP.ANY,
LIBERTY MUTUAL GROUP, INC.,
LIBER'I'Y MUTUAL PROPERT¥ AND
CASUALTY ]NSURANCE COMPANY and
LIBERT`Y MUTUAL 11an INSURANCE
COMPANY

De'fendants.

 

`T'o: LIBERTY MU_TUAL GROUP, lNc_., LlBERTY MUT.UAL PROPERTY, AND
CASHALTY INSURANCE coMPANY and LIBERTY MUTUAL FIRE
INSURANCE coMP/\NY
NoTIc_E: YOU HAVE- BEEN sUED ny THE ABovE NAMED PLAINTIW.

THE -COURT MAY ENTER .IUI)GMENT.A-GAINST YOU W"ITHOUT FURTHER NOTICE

SUMMONS ON AMENDED COMPLAINT AND DEMAND FOR JURY TRIAI. - -Pa'g'e I

:orY

 

 

Case 1:O7-cV-OO206-E.]L Document 1 Filed 05/03/07 Page 15 of 23

ULES'S YOU RESPOND \-VITHIN THIRTY (3'0) DAYS. READ THE INFORMA"I`ION
BELOW.

You are hereby-notified that -i'n order to defend this laws_ui_t, an appropriate Written response
must be filed with thc-above designated court within twenty (20_}_ days ailer service of this Summons
on you. If you fail to so respond, the Court may enter judgment against you as~demanded by the
Plaintitfin the Amend`ed Complaint 'a`nd D_emand for Jury Trial.

A copy of the Amended Complaint and Deman'd for Jury'Tiial is served with this.Summons..
lf` you wish to seek the advice o;f or representation by an attorney in this ma-tter, you should do so
promptly so that your Written response, if any,. may be filed in time and other legal rights protected

A!`l nppr'opriate written response requires compliance with Rul'e- 10[3)(1) and othex Idaho.
R"ules of Civil Procedure end shall also include:

l- The title and number of this ease

2. if your response is an Answer to the Amended Complaint and Dem’and for .Iury Trial
it must contain admissions or denials of the separate allegations of the Amended Complaint and
Demand for Jur_y Trial and other defenses'you may -claim.

3. Your si gna`mre, mailing address and telephone number, or the signature mailing
address and telephone number of your attome_y.

4. Proof of mailing or delivery of a. copy of your response to Plaint'ifl’s attomey_§ as
designated ab'ove.

To_ determine whether you must pay a_ filing fee with your response, contact the Clerk_ of the -
above-named Court.

DATED mile da.y'oprnl, 2007.

      

CLERK op THE msch count
J_ pAvlo Nl.\v wl - \<

    

ny Aoev T .:' _:f'l
Deput_y Clc`:'rk "§

summons ON AMENDED coMP-LAINT AND Dt-;MAND non luRY TRIA-L Page_z

 

Case 1:O7-cV-OO206-E.]L Document 1 Filed 05/03/07 Page 16 of 23

..

vn.._________________
. PR.E!)
Ml HAEL R JoHNso' M" "_"`“"* ‘"`”'*"_~
c . . N __

BEVIS, munson & THIRY, P.A. A+ R 1 6 2007
AKOm€yS at.L:iW J_ UV§D;M§’W' mark
960 Broadway, Suite 220 DyDB-¥Tm.
P.o. sex 827 "”' ”"

Boiso_; Idztho 83701-0827
Telephone: (208) 345~1-040
Facsimi'le: (208) 345~{_}365
Idaho Stat`e Bar No, 4706

A'ITOR`-NEYS FOR. PLAINT]I"FS

m THE DISTRICT COUR.'I` OF THE FOUR'I'I~I JUDIClA-L DIS’I`RICT OF THE

STATE O.`F lDAHO, IN AND FOR THE COUN’I"Y OF ADA

PHYLL¥S R. CHARTERS and

R.OBERT L. CHARTERS, Hushand` and Wife-
CASB NO. C’_V OC 0619740
Plain'ti‘f!`s,
AMENDED COMPLAIN'I` AND
V. DEMAND `FOR IUR¥ `TR_IAL
P-RUDEN'I`IAL PRO_PERTY AND
CASUALTY lNSURANCE COMPANY_,
LIBBRTY MUTUAL GROUP-, INC.,
LIBERTY MU'I'UAL P.ROP¢ERTY AND
CASUALTY NSURANCE COMPANY., and
LIBERTY MUTU-AL FIRE NSURANCE
COMP-ANY

Defendants.

 

COMES N-OW_, theahove-capt`i'onedPlaintiffs,by and through their attorney ofrecord,B'evis,

.lohnson & Th'iry, P.A., and complain and allege against the above captioned Defendants as follow:

AMENDED coMPLAINT AND DEMAND Forz mm mm ~ page 1 © PY

 

Case 1:O7-cV-00206-E.]L Document 1 Filed 05/03/07 Page 17 of 23

PAgnEs', mg .;sl);cnoN AND vera gE
I.
Plaintiffs, are-now, and-at all times relevant to this action were residents uf" the state o'fldnho_.»
lI._
At all times relevant herein, Defendan_ts were foreign corporations authorized to do business
in the state ofIclaho and had the authority to transact insurance business in the state of Idaho.
HI.
The» amount in controversy is greater than thc sum of $l `0_,000 and the claims and causes of
action set. forth herein therefore exceed the jurisdictional limits and prerequisites 0 f the District Court.
IV.
Based upon thc-above al_legat_io_ns, and the allegation further made herein,.vcnue is prc")per' in
this action pursuant to Idaho= Code § 5-404.
V.
Service of process maybe made upon Defend:éa'nts'purs'uant to Idaho Code §§ 41~333 and-4b

334, by service upon the Dire'c_tor of the Department of Insurance for the state of Idaho.

 

VL

At all times relevant hereto Plaintiffs were insured under an automobile insurance policy
issued by the Defendant,_ Prudential Property and Casualty Insurance Comp_any (hcreinaf¥er-

“PrudentiaI-").

'AMEND-ED COMPL~A-H_‘l'l` AND DEMAND FOR- JURY TRIAL ~ Page 2

 

 

Case 1:O7-cV-OO206-E.]L Document 1 Filed 05/03/07 Page 18 of 23

VH.

The contractual obligations of Prudential insurance policy purchased by Plaintiffs were
subsequently assumed by Defcndants, Liberty Mutual Grou_pz Inc.,_ Liberty Mutual Property and
Casualty Insurance Coznpany, and Liberty Mutual _Fire Insurance Company '(he_reinaft`er collectively
“Libert'y Mutual”').

VI]I.

'I‘he Pol`icy of Insurance provided medical payments coverage fur medical expenses caused

by an automobile accident
IX.

Sa'id Policy of Insurance issued by the Def`endant Prudential mdsubsequcntly assumed by
Liberty Mutual also provided underinsured motorist coverage for damages forbodily injury that the
Plaintiffs Were legally entitled to collect from the owner or driver ofan' underinsured motor vehicle-

X.

On or about Octo_ber 22, 2001, in _Ada Co'nnty, Idaho, the Plain`tiffs were involved in an
automobile collision with an underinsured motorist-, as defined by said policy of insurance The
collision resulted from the negligence ofthe underinsured-motoristand Plaintiffs-Sufl`ered injuries and
have inclined medical expenses as a proximate result of said motorist’s negligence Plaint`ifls have
settled with the underinsured motorist, receiving the full limits of said motori'st’s liability policy, all
with the permission of the Defendants.

XI.
P~lai'nt'iifs have provided Defeudams with proof of their losses under the medical payments

coverage and underinsured motorist coverage Defendantfs have failed for a period of thirty (30) days

AMENDED COMPLAINT'AND DEMAND FOR JURY TRIAL - Page 3

 

 

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after such proofs of loss Were _lilrtiis'hed to Defendants to pay Plaintif`i`s the amount justly due them
under the terms of said policy of insurance
XII.
Piursu'ant' to I'daho Code § 41'-1~8_39 Del`cndants are liable"to the Plaio'tiffs for Plaintii`fs’
attorney fees incurred in prosecuting this lawsuit
FLE'ST CAUSE. OF ACl'ION
XHI.
Plaintif& re~allego paragraphs I through 'XII as if restated vherein.
XIV.

Plaintiffs hav e:submitted to the Defcndant_s for payment under the Plaintifl`s.’ medical payments
coverage with the Defenclants_, medical expenses incurred as a proximate result of the motor vehicle
collision.

Dcfendant_s have failed and refused to.pay all such medical expenses submitted in breach of
its. contract of insurance with thc Plaintiffs. Defendants are liable to the Plaintiffs for that breach of
contract, in anamo'unt equal to the remaining limits-of medical payments coverage

XVI.
Plaintilfs are entitled to be awarded prejudgment interest, costs and attorney fecs.
~SECON'D CAUSB OF ACI"ION
`XVII.

Plaintifi`s rc“a]l'eg'e paragraphs lthrough XVI as if restated herein.

AMENDED COMPLAYNT AND DE,MAND FOR JURY TR.`la‘\L - Page.d

 

 

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XV_I]]

Plaintiffs have demanded payment from D.efendaut's for the damages forbodilyinjnry.sufl”e_red
by Plaintiffs_, to the extent Plainti-ffs have not yet been compensated thereforeby virtue of the policy
limits Sc_tf!ement with the.under`insured driven owner and their insurer.

XIX.

Defendants` have failed and refused to pay the amount justly due Plaintift`s under said
underinsured motorist coverage Def_endants have-breached the contract ofins'ure'nc`e and are liable
to' Plaintiffs' for said breach in an amount in excess of .$.10,0_0.0.

XX`.
Plaintiffs are entitled to be awarded prejudgment interest, costs and attorney fees.
TH]RD CAUSE OF ACIION
XXI.
Plaintil‘f`s' re»alle_ge paragraphs I through XX as if restated herein.
XXTI.

Plai§ntiffs'have performed all conditions the policy required them to perform

Defend-ants have breached the implied covenant of'g_ood' faith and fair dealing by- failing to
justlypay~Plaint`iffs`" claims and are liable to the Pla_intiffs for damages arising from said breach in an
amount in excess o'f$lo.,'(l'OO.

XXTV.

Plaintifi`s are entitled to be awarded prejudgment interest, costs and attorney fees.

-AMENBED C_OMPLA;NT AND.D-eMAND FoR JURY TRIAL _ rage s

 

 

 

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FOURTH CAU§E OF ACTION
XXV.
Plainti£t"s re+allege.paragrnphs I through -XXIV as if restated herein
XXVI~.

De'fendants have acted in bed faith in denying payment of Pleintift`s’ medical expenses and
turderinsured losses, and are liable to the Plaintif_`fs for damages arising `i`r_o_m said had faith and
misconduct"'in an amount in excess of$l 0,000.

XXVII.
Plaizrtill's are entitled to be awarded prejudgment inter'es't, costs and attorney fees.-
XXVIH.

Wherefore, Plaintiffs pray for Ju'd_gment against Defendents es follows:

l. Under the First Cause of Action,'for damages sustained b_yPl`aintiffs as aresult of the
Defenda_nts’ breach of its contract of insurance with the plaintiffs in'an amount equal to the remaining
limits of medical payments coverage plus prejudgment interest, costs and attorney fees',

2. Under the Second Cause of Action, for damages sustained by Plaintifl`s' as a_result of
the Defendnntis' failure and rented to pay the amount justly due P`laintiffs under said underinsured
motorist coverage, in an amount in excess of$.`l 0,0.00, plus prejudgment intercst, costs and attorney
fees;

3. Under the Third Cause of Aetion, for damages sustained byPlainti_ffs-.as n result o'f the
Defendants' breach of the implied covenant`.of-good faith and fair dealing in an amount in excess of

$ 10,000, plus prejudgment interest, costs and attorney fees;

AMENDED `COMPLAINT AND DEMAND POR JURY TRIAL - P'a_ge 6

 

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4. Under the Fourth Cause of Action, for damages sustained by the Pla'intiffs as a result
of Defendants’ bad faith in denying.paymem o-fPlaintiH`s ’ medical expenses andmiderins'ured losses,
in an amount in excess'o-f $10,_00_`0, pl_u"s prejudgment int_erests, costs and attorney fe_es;

5. For Plaintiffs' attorney fees, costs and prejudgment interest

6. For such further relief as the Court deems just" and proper.

DEMAND. EOR JLZRY TRIAL
pursuant to Rule'§£_fb), !dako.Rules c:y"Cz'w'l Proqedure, Plaintiffs demand»a trial by jury on

any and all issues properly triable by jury in this action

DATED This 1 6 day of April 2007.

BEVIS-, IOI~INS.ON '& 'I`HIRY, P.A.

B,,…

vl\/lic:ha_c'.'l. R. Johnso_n
A't`torneys» for Plaintiffs

 

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Page 1 of 1 Case: CV-OC-2006-19740 Current Judge: |V|ichael |\/IcLaugh|in

Phy||is R Charters, eta|. vs. Prudential Property And Casua|ty Insurance Company, etal.

 

Date Code User Judge
10/20/2006 NCOC CCTEELAL New Case Filed - Other C|aims I\/|ichae| McLaugh|in
COMP CCTEELAL Comp|aint Filed l\/|ichael |VlCLaughlin
Sl\/|Fl CCTEELAL Summons Filed (2) l\/|ichae| N|cLaugh|in
4/4/2007 CERT CCNAVATA Certificate of Service (04/03/07) |\/|ichael |Vchaugh|in
4/10/2007 AFOS CCAMESLC Affidavit Of Service 4/5/07 (2) l\/|ichae| |\/|cLaughlin
4/16/2007 CO|\/|P CCBARCCR l/:\_l|n:nded Comp|aint and Demand for Jury Tria| l\/lichae| |\/|cLaughlin
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SI\/lFl CCBARCCR (2) Summons on Amended Comp|aint Filed l\/|ichae| |V|cLaughlin
4/23/2007 AFOS CCNAVATA (3) Affidavit Of Service (04/18/07) l\/|ichael |\/chaughlin
4/26/2007 AFOS CCTEELAL Affidavit Of Service 4.23.07 l\/|ichae| |\/|cLaugh|in

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